                      Case 1:21-mj-00423-ZMF Document 1 Filed 05/12/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                 Christopher Warnagiris
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 111(a) - Assaulting, Resisting, or Impeding Certain Officers or Employee,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress,
        18 U.S.C. § 1752(a) & (b) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
        40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                   Steven A. Weatherhead, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           2021.05.12
Date:             05/12/2021                                                                               17:04:34 -04'00'
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                           Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
